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                            Exhibit A
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          CONFIDENTIAL SETTLEMENT AGREEMENT AND MUTUAL RELEASE

  (1)   Introduction
        This settlement agreement (“Agreement”), effective as of the date it is fully executed on the
        last page of this agreement, is made by and on behalf of Arthur Catalano, Andre Joseph,
        Alexander Alonso, and Randolph Jones, (collectively referred to as “Plaintiffs”), on the one
        hand, and Anovos Productions, LLC (“Defendant”), on the other hand. Plaintiffs and
        Defendant are sometimes collectively referred to herein as "the Parties."
        WHEREFORE, Plaintiffs and Defendant are Parties in the Central District of California,
        Case No. 2:19-cv-04821-MWF-KS, arising out of a dispute regarding an alleged failure to
        deliver certain pre-paid products by Defendant ("Action");

        Defendant denies any wrongdoing alleged against it by Plaintiffs.
        Although the action was filed as a class action, the Parties reached settlement on individual
        basis, and there was no agreement regarding any recovery for the class or release of the class
        claims, and
        WHEREFORE, without admitting fault or liability, the Parties desire to settle and
        compromise their dispute and further dispense with the underlying litigation by entering into
        this Agreement,
        NOW, THEREFORE, in consideration of the promises and the mutual covenants contained
        herein, the Parties hereto agree as follows.




                                              This Agreement is 7 Pages In Length. This is Page 1.
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                                    This Agreement is 7 Pages In Length. This is Page 2.
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  (8)   Governing Law and Venue
        Any disputes arising out of or in connection with this Agreement shall be submitted to the
        Central District of California, which shall retain jurisdiction over any such dispute.
        Notwithstanding any other language in this agreement, the prevailing Party shall be entitled
        to all attorneys’ fees and the costs in connection with any enforcement proceedings.




                                             This Agreement is 7 Pages In Length. This is Page 3.
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                                    This Agreement is 7 Pages In Length. This is Page 4.
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                                    This Agreement is 7 Pages In Length. This is Page 5.
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        a.   If to Plaintiffs:


                     Abbas Kazerouni, Esq.
                     Yana Hart, Esq.
                     Kazerouni Law Group, APC
                     245 Fischer Ave, Suite D1,
                     Costa Mesa, CA 92626
                     Email: ak@kazlg.com
                     yana@kazlg.com


             b.      If to the Defendant

                     Eugene Rome, Esq.
                     Sridavi Ganesan, Esq.
                     Rome & Associates, A.P.C.
                     2029 Century Park East, Suite 450
                     Los Angeles, CA 90067
                     Email: erome@romeandassociates.com
                     sganesan@romeandassociates.com

  THE SIGNATORIES HAVE CAREFULLY READ THIS ENTIRE AGREEMENT. ITS
  CONTENTS HAVE BEEN FULLY EXPLAINED TO THEM BY THEIR ATTORNEYS.
  THE SIGNATORIES FULLY UNDERSTAND THE FINAL AND BINDING EFFECT OF
  THIS AGREEMENT. THE ONLY PROMISES MADE TO ANY SIGNATORY ABOUT
  THIS AGREEMENT ARE CONTAINED IN THIS AGREEMENT. THE SIGNATORIES
  ARE SIGNING THIS AGREEMENT VOLUNTARILY.

  PLEASE CAREFULLY READ THIS CONFIDENTIAL SETTLEMENT AND RELEASE
  AGREEMENT. THE AGREEMENT INCLUDES A RELEASE OF KNOWN AND
  UNKNOWN CLAIMS.




                                           This Agreement is 7 Pages In Length. This is Page 6.
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      WHEREFORE, the Parties have executed this Agreement as of the date(s) indicated below,
      respectively, and agree the effective date of this agreement shall be the date this Agreement
      is fully executed.
      ______________________________                                08/04/2020
                                                                    ______________
      Arthur Catalano                                               Date Signed

      ______________________________                                07/30/2020
                                                                    _______________
      Alexander Alonso                                              Date Signed

      ______________________________                                07/30/2020
                                                                    _______________
      Randolph Jones                                                Date Signed

      ______________________________                                08/04/2020
                                                                    _______________
      Andre Joseph                                                  Date Signed




      For Anovos Production LLC:
      ______________________________                                ______________

      Title:   _______________________                              Date Signed
      Name: _______________________




                                            This Agreement is 7 Pages In Length. This is Page 7.
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      WHEREFORE, the Parties have executed this Agreement as of the date(s) indicated below,
      respectively, and agree the effective date of this agreement shall be the date this Agreement
      is fully executed.
      ______________________________                                ______________
      Arthur Catalano                                               Date Signed

      ______________________________                                _______________
      Alexander Alonso                                              Date Signed

      ______________________________                                _______________
      Randolph Jones                                                Date Signed

      ______________________________                                _______________
      Andre Joseph                                                  Date Signed




      For Anovos Production LLC:
      ______________________________                                ______________

      Title:   _______________________                              Date Signed
      Name: _______________________




                                            This Agreement is 7 Pages In Length. This is Page 7.
